Case 1:15-Cv-OO706-TSE-|DD Document 162 Filed 06/28/18 Page 1 of 2 Page|D# 3183

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

DISH NETWORK L.L.C., AL JAZEERA Case No. 1215-cv-00706-TSE-IDD
MEDIA NETWORK, ASIA TV USA
LTD., B4U U.S., INC., GEO USA LLC,
IMPRESS TELEFILM, INC., MBC FZ
LLC, MSM ASIA LTD., SOUNDVIEW
BROADCASTING LLC, SOUNDVIEW
ATN LLC, STAR INDIA PRIVATE LTD.,
and VIACOM18 MEDIA PRIVATE
LIMITED,

      
     

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ALEXA lSTR|'CT

NDR¢ COURT

A. wastwa

V.

SHAVA IPTV NETWORK LLC,

NADEEM BUT'I`, IMRAN BUTT, and
NAEEM BUTT, individually and together
d/b/a Shava TV, Cres IPTV, Iraa Enterprises,
and Maple Electronics,

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Plaintiffs, )
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Defendants.

CERTIFICATE OF SERVICE

I hereby certify that on June 8, 2018, I served three (3) copies of the following
documents described as:

' Garnishrnent Summons Issued as to Imran Butt;

' Suggestion for Garnishment Issued as to Imran Butt; and
' Request for Hearing - Garnishment Exemption Claim.

by placing the documents in a sealed envelope With postage thereon illly prepaid
and then deposited the envelope With the United States Postal Service, addressed to
the non-CM/ECF participant at his last known address:

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Imran Butt

52 West Parl< Avenue,
Bradford, Ontario L3Z 0A4
Canada

Defendant

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p\_
Kleksandra Bajd ;

Respectfully submitted,

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Bradshaw Rost, Esq., VSB Bar #27134
Tenenbaum & Saas, P.C.

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